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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                CLARKSBURG

UNITED STATES OF AMERICA,

                      Plaintiff,

       vs.                                   Case No.: 1:15CR64-02
                                             (JUDGE KEELEY)

DALERON KAMERON STEWART,

                      Defendant.


                      REPORT AND RECOMMENDATION
                 CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the

 District Court for purposes of conducting proceedings pursuant to Federal Rule of

 Criminal Procedure 11. Defendant, Daleron Kameron Stewart, in person and by

 counsel, Scott Shough, appeared before me on November 4, 2015. The Government

 appeared by Assistant United States Attorney, Andrew R. Cogar. The Court

 determined that Defendant was prepared to enter a plea of "Guilty" to Count One (1)

 of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant

  under oath and inquiring into Defendant’s competency. The Court determined

  Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

  and examined Defendant under oath concerning all matters mentioned in Rule 11.

        The Court next inquired of Defendant concerning his understanding of his

  right to have an Article III Judge hear the entry of his guilty plea and his

  understanding of the difference between an Article III Judge and a Magistrate
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  Judge. Defendant thereafter stated in open court that he voluntarily waived his right

  to have an Article III Judge hear his plea and voluntarily consented to the

  undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court a

  written Waiver of Article III Judge and Consent to Enter Guilty Plea before

  Magistrate   Judge.    The waiver and consent         was   signed by Defendant,

  countersigned by Defendant's counsel, and concurred by the signature of the

  Assistant United States Attorney.

        Upon consideration of the sworn testimony of Defendant, as well as the

  representations of his counsel and the representations of the Government, the

  Court finds that the oral and written waiver of an Article III Judge and consent to

  enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

  Additionally, the Court finds that the written waiver and consent was freely and

  voluntarily executed by Defendant Stewart only after having had his rights fully

  explained to him and having a full understanding of those rights through

  consultation with his counsel, as well as through questioning by the Court. The

  Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

  Magistrate Judge filed and made part of the record.

        Thereafter, the Court determined that Defendant's plea was pursuant to a

  written plea agreement, and asked the Government to tender the original to the Court.

  The Court asked counsel for the Government if the agreement was the sole

  agreement offered to Defendant.      The Government responded that it was, and

  counsel for Defendant confirmed the same.        The Court asked counsel for the


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  Government to summarize the written plea agreement. Counsel for Defendnat and

  Defendant stated that the agreement as summarized by counsel for the Government

  was correct and complied with their understanding of the agreement. The

  undersigned further inquired of Defendant regarding his understanding of the written

  plea agreement. Defendant stated he understood the terms of the written plea

  agreement and also stated that it contained the whole of his agreement with the

  Government and no promises or representations were made to him by the

  Government other than those terms contained in the written plea agreement. The

  Court ORDERED the written plea agreement filed.

        The undersigned then reviewed with Defendant Count One (1) of the

  Indictment and the elements the Government would have to prove, conspiracy to

  distribute and possess heroin with intent to distribute heroin in violation of Title 21

  U.S.C. §§ 841(a)(1),841(b)(1()(C), and 846 . Subsequently, Defendant Stewart pled

  GUILTY to the charge contained in Count One (1) of the Indictment. However, before

  accepting Defendant’s plea, the undersigned inquired of Defendant’s understanding

  of the charges against him, inquired of Defendant’s understanding of the

  consequences of him pleading guilty to the charges, and obtained the factual basis

  for Defendant’s plea.

        The Government proffered a factual basis for the plea explaining, Defendant

  was involved in a conspiracy with co-defendants to possess and distribute heroin

  between January 2014 and May 2014 in Harrison County and Monongalia County,

  West Virginia, in the Northern District of West Virginia, and elsewhere.           The


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  Government stated that on January 30, 2014, a Confidential Informant (CI) working

  with the West Virginia State Police and the Harrison County Violent Crime Task

  Force, negotiated with Darrell Mar to purchase heroin.         Upon arriving to the

  designated meeting place in Harrison County, West Virginia, Defendant Stewart

  entered the CI’s vehicle where the CI made an undercover controlled purchase of

  heroin from Defendant Stewart. The CI exchanged $450 for 1 “brick” of heroin from

  Defendant Stewart. Thereafter, a tracking device was placed on the vehicle in which

  Defendant Stewart departed. The tracking device revealed that a couple of days

  later, Defendant’s vehicle was driven to Pittsburgh, Pennsylvania, and returned to

  Morgantown, West Virginia, on February 4, 2015. On that date, the vehicle was

  stopped for a traffic violation, and subsequently searched. Six “bricks” of heroin was

  found in the vehicle.

        Neither counsel for Defendant nor Defendant disputed the proffer when given

  the opportunity to do so.    Defendant stated he heard, understood, and did not

  disagree with the Government's proffer. Additionally, Defendant provided a factual

  basis for the commission of the offense.        The undersigned Magistrate Judge

  concludes the offense charged in Count One (1) of the Indictment is supported by

  an independent basis in fact concerning each of the essential elements of such

  offense, and that independent basis is provided by the Government’s proffer.

        The undersigned then reviewed with Defendant the statutory penalties

  applicable to an individual adjudicated guilty of the felony charge contained in Count

  One (1) of the Indictment and the impact of the sentencing guidelines on sentencing


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  in general.    From said review, the undersigned Magistrate Judge determined

  Defendant understood the nature of the charges pending against him and that the

  possible statutory maximum sentence which could be imposed upon his conviction

  or adjudication of guilty on Count One (1) was a term of imprisonment of not more

  than twenty (20) years. The undersigned further determined Defendant understood a

  fine of not more than $1,000,000.00 could be imposed, both fine and imprisonment

  could be imposed, he would be subject to a period of at least three (3) years of

  supervised release, and the Court would impose a special mandatory assessment

  of $100.00 for the felony conviction payable on or before the date of sentencing.

  Defendant also understood that his sentence could be increased if he had a prior

  firearm offense, violent felony conviction, or prior drug conviction.         He also

  understood he might be required by the Court to pay the costs of his incarceration.

       The undersigned asked Defendant whether he understood that if he were not a

  citizen of the United States, by pleading guilty to a felony charge he would be subject

  to deportation at the conclusion of any sentence; that he would be denied future entry

  into the United States; and that he would be denied citizenship if he ever applied for

  it. Defendant stated that he understood.

         The undersigned also reviewed with Defendant his waiver of appellate and

  collateral attack rights.   Defendant understood that he was waiving his right to

  appeal his conviction and sentence to the Fourth Circuit Court of Appeals on any

  ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

  Defendant further understood that under his plea agreement, he was waiving his


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  right to challenge his conviction and sentence in any post-conviction proceeding,

  including any proceeding under 28 U.S.C. § 2255.             Defendant understood,

  however, that he was reserving the right to raise claims of ineffective assistance of

  counsel or prosecutorial misconduct that he learned about after the plea hearing

  and agreed that he was unaware of any ineffective assistance of counsel or

  prosecutorial misconduct in his case at this time. From the foregoing, the

  undersigned determined that Defendant understood his appellate rights and

  knowingly gave up those rights pursuant to the conditions contained in the written

  plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his

  knowledgeable and voluntary execution of the written plea bargain agreement, and

  determined   the entry into said written plea bargain agreement was both

  knowledgeable and voluntary on the part of Defendant.

        The undersigned Magistrate Judge further inquired of           Defendant, his

  counsel, and the Government as to the non-binding recommendations and

  stipulations contained in the written plea bargain agreement and determined that

  Defendant understood, with respect to the plea bargain agreement and to

  Defendant's entry of a plea of guilty to the felony charge contained in Count One

  (1) of the Indictment. The undersigned Magistrate Judge informed Defendant that he

  would write the subject Report and Recommendation and would further order a pre-

  sentence investigation report be prepared by the probation officer attending the

  District Court. The undersigned advised the Defendant that the District Judge


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  would adjudicate the Defendant guilty of the felony charged under Count One (1) of

  the Indictment. Only after the District Court had an opportunity to review the pre-

  sentence investigation report, would the District Court make a determination as to

  whether to accept or reject any recommendation or stipulation contained within the

  plea agreement or pre-sentence report. The undersigned reiterated to Defendant that

  the District Judge may not agree with the recommendations or stipulations contained

  in the written agreement. The undersigned Magistrate Judge further advised

  Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

  the District Court Judge refused to follow the non-binding recommendations or

  stipulations contained in the written plea agreement and/or sentenced him to a

  sentence which was different from that which he expected, he would not be permitted

  to withdraw his guilty plea. Defendant and his counsel each acknowledged their

  understanding and Defendant maintained his desire to have his guilty plea

  accepted.

          Defendant also understood that his actual sentence could not be calculated

  until after a pre- sentence report was prepared and a sentencing hearing

  conducted. The undersigned       also advised, and Defendant       stated that he

  understood, that the Sentencing Guidelines are no longer mandatory, and that, even

  if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

  higher sentence than he expected, he would not have a right to withdraw his guilty

  plea.   Defendant further stated that his attorney showed him how the advisory

  guideline chart worked but did not promise him any specific sentence at the time of


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  sentencing.   Defendant stated that he understood his attorney could not predict or

  promise him what actual sentence he would receive from the sentencing judge at the

  sentencing hearing.    Defendant further understood there was no parole in the

  federal system, but that he may be able to earn institutional good time, and that

  good time was not controlled by the Court, but by the Federal Bureau of Prisons.

        Defendant, Stewart, with the consent of his counsel, Scott Shough proceeded

 to enter a verbal plea of GUILTY to the felony charge in Count One (1) of the

 Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge

  finds that Defendant is fully competent and capable of entering an informed plea;

  Defendant is aware of and understood his right to have an Article Ill Judge hear and

  accept his plea and elected to voluntarily consent to the undersigned United States

  Magistrate Judge hearing his plea; Defendant understood the charges against him,

  not only as to the Indictment as a whole, but in particular as to Count One (1) of the

  Indictment; Defendant understood the consequences of his plea of guilty, in

  particular the maximum statutory penalty to which he would be exposed for Count

  One (1); Defendant made a knowing and voluntary plea of guilty to Count One (1) of

  the Indictment; and Defendant's plea is independently supported by the Government’s

  proffer testimony which provides, beyond a reasonable doubt, proof of each of the

  essential elements of the charges to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore recommends Defendant's plea of

  guilty to Count One (1) of the Indictment herein be accepted conditioned upon the


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  Court's receipt and review of this Report and Recommendation.

        The undersigned further directs that a pre-sentence investigation report be

  prepared by the adult probation officer assigned to this case.

        Any party may, within fourteen (14) days after being served with a copy of this

  Report and Recommendation, file with the Clerk of the Court written objections

  identifying the portions of the Report and Recommendation to which objection is

  made, and the basis for such objection. A copy of such objections should also be

  submitted to the Honorable Irene M. Keeley, United States District Judge.   Failure to

  timely file objections to the Report and Recommendation set forth above will result

  in waiver of the right to appeal from a judgment of this Court based upon such

  report and recommendation.      28 U.S.C. § 636(b)(l); United    States v. Schronce,

  727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

  766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and

  Recommendation to counsel of record.


 Respectfully submitted on November 5, 2015




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